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  Dane Exnowski, SBN 281996                                                   FOR COURT USE ONLY
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  Long Beach, CA 90802
  Telephone: 562-661-5060
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   Movant appearing without an attorney
   Attorney for Movant

                                       UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA – RIVERSIDE DIVISION

  In re:                                                                        CASE NO.: 6:20-bk-11537-WJ
  Asif Aziz,                                                                    CHAPTER: 7

                                                                                  NOTICE OF MOTION AND MOTION
                                                                                 FOR RELIEF FROM THE AUTOMATIC
                                                                                               STAY
                                                                                       UNDER 11 U.S.C. § 362
                                                                                    (with supporting declaration)
                                                                                         (REAL PROPERTY)
                                                                                DATE: June 11, 2020
                                                                                TIME: 10:00 am
                                                            COURTROOM: 304
                                                  Debtor
 Movant:        NewRez LLC d/b/a Shellpoint Mortgage Servicing



1. Hearing Location:

 255 East Temple Street, Los Angeles, CA 90012                                  411 West Fourth Street, Santa Ana, CA 92701
 21041 Burbank Boulevard, Woodland Hills, CA 91367                              1415 State Street, Santa Barbara, CA 93101
 3420 Twelfth Street, Riverside, CA 92501


2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor's bankruptcy estate on the grounds set forth in the
   attached Motion.

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3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.

4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.  This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
     you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
     the hearing.

7.  This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
     motion, you must file and serve a response no later than ____________ and (time) __________; and, you may
     appear at the hearing.

    a.  An application for order setting hearing on shortened notice was not required (according to the calendaring
         procedures of the assigned judge).

    b.  An application for order setting hearing on shortened notice was filed and was granted by the court and such
         motion and order have been or are being served upon the Debtor and upon the trustee (if any).

    c.    An application for order setting hearing on shortened notice was filed and remains pending. After the court
           rules on that application, you will be served with another notice or an order that specifies the date, time and
           place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
           motion.



Date:       4/28/2020                                                             McCalla Raymer Leibert Pierce, LLP
                                                                                  Printed name of law firm (if applicable)
                                                                                  Dane Exnowski
                                                                                  Printed name of individual Movant or attorney for Movant

                                                                                  /s/ Dane Exnowski
                                                                                  Signature of individual Movant or attorney for Movant




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             MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:

     Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
         the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
     Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
         mortgage or deed of trust) or (2) is the assignee of the beneficiary.
     Servicing agent authorized to act on behalf of the Holder or Beneficiary.
     Other (specify):
2. The Property at Issue (Property):

    a. Address:
         Street address:                7010 LA PRESA DRIVE
         Unit/suite number:
         City, state, zip code:         San Gabriel, California, 91775

    b. Legal description, or document recording number (including county of recording), as set forth in Movant's deed of
       trust (attached as Exhibit 1): 20170490470, Los Angeles County

3. Bankruptcy Case History:
    a. A  voluntary          involuntary bankruptcy petition under chapter  7  11  12  13 was filed on: 02/26/2020.
    b.    An order to convert case to chapter  7  11  12  13 was entered on ____________.
    c.    Plan was confirmed on ____________.
4. Grounds for Relief from Stay:
    a.    Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
         (1)    Movant's interest in the Property is not adequately protected.
               (A)    Movant's interest in the Property is not protected by an adequate equity cushion.
               (B)    The fair market value of the Property is declining and payments are not being made to Movant
                         sufficient to protect Movant's interest against that decline.
               (C)    Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor's
                         obligation to insure the collateral under the terms of Movant's contract with the Debtor.
         (2)    The bankruptcy case was filed in bad faith.
               (A)    Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor's case
                         commencement documents.
               (B)    The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
               (C)    A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                         filing this bankruptcy case.
               (D)    Other bankruptcy cases have been filed in which an interest in the Property was asserted.
               (E)    The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                         and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
               (F)    Other (see attached continuation page)
         (3)    (Chapter 12 or 13 cases only)
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                (A)    All payments on account of the Property are being made through the plan.
                         Preconfirmation  Postconfirmation plan payments have not been made to the chapter 12 trustee
                          or chapter 13 trustee.
                (B)    Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                          been made to Movant.
          (4)    The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.
          (5)    The Movant regained possession of the Property on ______________, which is  prepetition 
                      postpetition.
          (6)    For other cause for relief from stay, see attached continuation page.
     b.          Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to §
                362(d)(2)(B), the Property is not necessary to an effective reorganization.
     c.    Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as "single asset real estate" as defined in 11
                U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.
     d.    Pursuant to 11 U.S.C. § 362(d)(4), the Debtor's filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:
                (1)    The transfer of all or part ownership of, or other interest in, the Property without the consent of
                          Movant or court approval; or
                (2)    Multiple bankruptcy cases affecting the Property.
5.    Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.    These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.    Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit ___.

     c.   Other (specify):

6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)

     a. The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.    Supplemental declaration(s).
     c.    The statements made by Debtor under penalty of perjury concerning Movant's claims and the Property as set
                forth in Debtor's case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit .
     d.    Other: Broker Price Opinion as Exhibit 4.
7.    An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:              11 U.S.C. § 362(d)(1)  11 U.S.C. § 362(d)(2)  11 U.S.C. § 362(d)(3).

2.     Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
          remedies to foreclose upon and obtain possession of the Property.

3.     Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
          modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
          servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.

4.     Confirmation that there is no stay in effect.

5.     The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
          enforce its remedies regarding the Property shall not constitute a violation of the stay.

6.     The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
          the same terms and conditions as to the Debtor.

7.     The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

8.  A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
                        without further notice, or  upon recording of a copy of this order or giving appropriate notice of
             its entry in compliance with applicable nonbankruptcy law.

9.     Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
          governing notices of interests or liens in real property, the order is binding in any other case under this title
          purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
          except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
          circumstances or for good cause shown, after notice and hearing.

10.    The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
          interest in the Property for a period of 180 days from the hearing of this Motion:
                          without further notice, or  upon recording of a copy of this order or giving appropriate notice of
               its entry in compliance with applicable nonbankruptcy law.

11.    The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
                      without further notice, or  upon recording of a copy of this order or giving appropriate notice of
               its entry in compliance with applicable nonbankruptcy law.

12.    Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
          Code § 2920.5(c)(2)(C).

13.    If relief from stay is not granted, adequate protection shall be ordered.

14.    See attached continuation page for other relief requested.
Date:       4/28/2020                                                              McCalla Raymer Leibert Pierce, LLP
                                                                                   Printed name of law firm (if applicable)
                                                                                   Dane Exnowski
                                                                                   Printed name of individual Movant or attorney for Movant
                                                                                   /s/ Dane Exnowski
                                                                                   Signature of individual Movant or attorney for Movant

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                                                 REAL PROPERTY DECLARATION

                                Renee Jenkins
I, (print name of Declarant) ___________________________________________, declare:

1. I have personal knowledge of the matters set form in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding Movant's interest in the real
   property that is the subject of this Motion (Property) because (specify):

    a.    I am the Movant.

    b.    I am employed by Movant as (state title and capacity):

    c.                                  Case Manager II
          Other (specify): I am a(n) _______________________ at NewRez LLC d/b/a Shellpoint Mortgage
              Servicing

2. a.     I am one of the custodians of the books, records and files of Movant that pertain to loans and extensions of
              credit given to Debtor concerning the Property. I have personally worked on the books, records and files, and
              as to the following facts, I know them to be true of my own knowledge or I have gained knowledge of them
              from the business records of Movant on behalf of Movant. These books, records and files were made at or
              about the time of the events recorded, and which are maintained in the ordinary course of Movant's business
              at or near the time of the actions, conditions or events to which they relate. Any such document was prepared
              in the ordinary course of business of Movant by a person who had personal knowledge of the event being
              recorded and had or has a business duty to record accurately such event. The business records are available
              for inspection and copies can be submitted to the court if required.

    b.    Other (see attached):

3. The Movant is:

    a.    Holder: Movant has physical possession of a promissory note that (1) names Movant as the payee under the
              promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer. A true and correct
              copy of the note, with affixed allonges/indorsements, is attached as Exhibit 2.

    b.    Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
              mortgage or deed of trust) or (2) is the assignee of the beneficiary. True and correct copies of the recorded
              security instrument and assignments are attached as Exhibits 1 & 3, respectively.

    c.    Servicing agent authorized to act on behalf of the:
               Holder.
               Beneficiary.

    d.    Other (specify):
    4. a. Address:
         Street address:                7010 LA PRESA DRIVE
         Unit/suite number:
         City, state, zip code:         San Gabriel, California, 91775

         b. Legal description, or document recording number (including county of recording), as set forth in Movant's
            deed of trust (attached as Exhibit 1): 20170490470, Los Angeles County

5. Type of property (check all applicable boxes):
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     a.    Debtor's principal residence                                     b.    Other residence
     c.    Multi-unit residential                                           d.    Commercial
     e.    Industrial                                                       f.    Vacant land
     g.    Other (specify):

6. The nature of Debtor's interest in the Property:
     a.    Sole owner According to Movant’s records, Debtor is the owner of record
     b.    Co-owner(s) (specify):
     c.    Lienholder (specify):
     d.    Other (specify):
     e.    Debtor  did  did not list the Property in the Debtor's schedules.
     f.    The Debtor acquired the interest in the Property by  grant deed  quitclaim deed  trust deed.
              The deed was recorded on (date):

7. Movant holds a  deed of trust                   judgment lien  other (specify) ___________________________________
   that encumbers the Property.

     a.    A true and correct copy of the document as recorded is attached as Exhibit 1.
     b.    A true and correct copy of the promissory note or other document that evidences the Movant's claim is
              attached as Exhibit 2.
     c.    A true and correct copy of the assignment(s) transferring the beneficial interest under the note and deed of
              trust to Movant is attached as Exhibit 3. Movant is the successor-in-interest with respect to the loan.

8. Amount of Movant's claim with respect to the Property:
                                                             PREPETITION                             POSTPETITION                       TOTAL
a    Principal:                                                                                                                   $1,423,705.25
b.   Accrued interest:                                                                                                             $143,712.80
c.   Late charges:                                                                                                                         $0.00
d.   Costs (attorney's fees, foreclosure fees, other costs):                                                                          $9,910.77
e.   Advances (property taxes, insurance):                                                                                            $36,735.21
f.   Less suspense account or partial balance paid:                                                                                        $0.00
g.   TOTAL CLAIM as of (date): 03/27/2020                                                                                         $1,614,064.03
h.    Loan is all due and payable because it matured on (date)
9. Status of Movant's foreclosure actions relating to the Property (fill the date or check the box confirming no such action
   has occurred).

     a.      Notice of default recorded on (date): 04/01/19 and 1/16/2020 or                         none recorded.
     b.      Notice of sale recorded on (date): 7/5/2019 or                 none recorded.
     c.      Foreclosure sale originally scheduled for (date): ___________ or                      none scheduled.
     d.      Foreclosure sale currently scheduled for (date): ___________ or                      none scheduled.
     e.      Foreclosure sale already held on (date): or                none held.
     f.      Trustee's deed upon sale already recorded on (date): ___________ or                         none recorded.




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10. Attached (optional) as Exhibit _ is a true and correct copy of a POSTPETITION statement of account that accurately
    reflects the dates and amounts of all charges assessed to and payments made by the Debtor since the bankruptcy
    petition date.

11.    (Chapter 7 and 11 cases only) Status of Movant's loan:
      a. Amount of current monthly payment as of the date of this declaration: $10,426.98 for the month of March
         2020
      b. Number of payments that have become due and were not made: 20 Total amount: $209,578.11
      c.   Future payments due by time of anticipated hearing date (if applicable):
           An additional payment of $10,426.98 will come due on 04/01/2020, and on the 1st day of each month thereafter. If the
           payment is not received within 15 days of said due date, a late charge of $N/A will be charged to the loan.
      d. The fair market value of the Property is $825,000.00 established by:
           (1)    An appraiser's declaration with appraisal is attached as Exhibit ___.
           (2)    A real estate broker or other expert's declaration regarding value is attached as Exhibit ”4”.
           (3)    A true and correct copy of relevant portion(s) of the Debtor's schedules is attached as Exhibit ___
           (4)    Other (specify):
      e. Calculation of equity/equity cushion in property:
         Based upon  a preliminary title report  the Debtor's admissions in the schedules filed in this case, the
         Property is subject to the following deed(s) of trust or lien(s) in the amounts specified securing the debt against
         the Property:

                                                   Name of Holder                            Amount as Scheduled              Amount Known to
                                                                                               by Debtor (if any)           Declarant and Source
       1st deed of trust:      Movant                                                        $                              $1,614,064.03
       2nd deed of trust                                                                     $                              $
       3rd deed of trust:                                                                    $                              $
       Judgment liens:                                                                       $                              $
       Taxes:                                                                                $                              $
       Other                                                                                 $                              $
       TOTAL DEBT: $

      f.   Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit 1 and consist of:
           (1)    Preliminary title report.
           (2)    Relevant portions of the Debtor's schedules.
           (3)    Other (specify): Exhibit “1”

      g.    11 U.S.C. § 362(d)(1) - Equity Cushion:
                 I calculate that the value of the "equity cushion" in the Property exceeding Movant's debt and any lien(s)
                 senior to Movant's debt is $0 and is 0%of the fair market value of the Property.

      h.    11 U.S.C. § 362(d)(2)(A) - Equity:
                 By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
                 Paragraph 11(e) above, I calculate that the Debtor's equity in the Property is -$789,064.03.




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i.     Estimated costs of sale: $                            (estimated based upon % of estimated gross sales price)

j.     The fair market value of the Property is declining because:

12.    (Chapter 12 and 13 cases only) Status of Movant's loan and other bankruptcy case information:
      a. A 341(a) meeting of creditors is currently scheduled for (or concluded on) the following date:
      A plan confirmation hearing currently scheduled for (or concluded on) the following date:
      A plan was confirmed on the following date (if applicable):
                Postpetition preconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
                      Number of                   Number of                  Amount of Each Payment
                      Payments                   Late Charges                   or Late Charge                               Total




                (See attachment for additional breakdown of information attached as Exhibit __.)
      b.        Postpetition postconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
                      Number of                   Number of                  Amount of Each Payment
                      Payments                   Late Charges                   or Late Charge                               Total




           d.    Postpetition advances or other charges due but unpaid:                                                                      $
                 (For details of type and amount, see Exhibit ___)
           e.    Attorney's fees and costs:                                                                                                  $
                 (For details of type and amount, see Exhibit ___)
           f.    Less suspense account of partial paid balance:                                                                              $
                                                            TOTAL POSTPETITION
                                                            DELINQUENCY:                                      $
      g. Future payments due by time of anticipated hearing date (if applicable):
         An additional payment of $____ will come due on (date), and on the ____ day of each month thereafter. If the
         payment is not received within __ days of said due date, a late charge of $____ will be charged to the loan.
      h. Amount and date of the last 3 post-petition payments received from the Debtor in good funds, regardless of how
      applied (if applicable):
          $                    received on (date)
          $                    received on (date)
          $                    received on (date)

      i.         The entire claim is provided for in the Chapter 12 or 13 plan and postpetition plan payments are delinquent. A
                    plan payment history is attached as Exhibit “ See attached declaration(s) of chapter 12 trustee or 13 trustee
                    regarding receipt of payments under the plan (attach LBR form F4001-1.DEC.AGENT.TRUSTEE).
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     McCalla Raymer Leibert Pierce, LLP
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     Long Beach, CA 90802
 3
     Telephone: 562-661-5060
 4   BK.CA@mccalla.com

 5
     Attorney for NewRez LLC d/b/a Shellpoint
 6   Mortgage Servicing

 7                               UNITED STATES BANKRUPTCY COURT

 8              FOR THE CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION

 9   In re:                                                 Case No. 6:20-bk-11537-WJ

10   Asif Aziz,                                             Chapter 7

11
12                                                          DECLARATION IN SUPPORT OF BROKER
                                                            PRICE OPINION RE: 7010 LA PRESEA
13                                                          DRIVE, SAN GABRIEL, CALIFORNIA, 91775
14                                                          Hearing:
                                                            Date:
15                                                          Time:
                                                            Place: Courtroom 304
16                                                                 3420 Twelfth Street
                                                                   Riverside, CA 92501
17
                                           Debtor.
18
19   I, Geoffrey Folkerth, declare:

20         1. I am a licensed Broker employed by Western Capital Mortgage Inc, I am over the age of 18

21   years old. In the foregoing capacity, I have personal knowledge of the following and if called upon to

22   testify thereto I could and would do so competently and truthfully.

23         2. I am a licensed broker with more than 15 years of experience in the real estate industry. My

24   license was renewed on January 09, 2019 and is numbered 01357085.

25   ///

26   ///

27   ///

28   ///

     DECLARATION IN SUPPORT                             1                                        7879-N-7356
     OF PROPERTY VALUATION                                                                    DecBroker_0001
     Case 6:20-bk-11537-WJ         Doc 35 Filed 04/28/20 Entered 04/28/20 16:49:56                   Desc
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 1      3. I am a "disinterested person" as defined by 11 U.S.C. § 101(14). I have no interest materially
 2   adverse to the interest of the estate or of any class of creditors, or equity security holders, by reason of
 3   any direct or indirect relationship to, connection with, or interest in, the debtor, or for any other reason.
 4      4. I was asked to prepare a Broker Price Opinion on the property located at 7010 LA PRESA
 5   DRIVE, SAN GABRIEL, CALIFORNIA 91775 (the "Property"), in which I completed on or about
 6   July 6, 2019. A true and correct copy of the Broker Price Opinion is attached together with this
 7   declaration as Exhibit 4 to Motion with respect to which this declaration is filed.
 8      5. Based on my analysis of the "as is" market value of the Property, and based upon my
 9   experience as a broker, it is my opinion that, as of July 6, 2019, said market value was $825,000.00.
10
11          I declare under penalty of perjury under the laws of the United States of America that the
12   foregoing is true and correct and that this Declaration was executed on April 23, 2020, at (city, state)
13   Los Angeles, California.
14
     Geoffrey Folkerth
15
     Declarant's name                                          Signature of Declarant
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     DECLARATION IN SUPPORT                                2                                            7879-N-7356
     OF PROPERTY VALUATION                                                                           DecBroker_0001
         Case 6:20-bk-11537-WJ                     Doc 35 Filed 04/28/20 Entered 04/28/20 16:49:56                                      Desc
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                                         PROOF OF SERVICE OF DOCUMENT
         I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
         address is:
                                                1 N. Dearborn, Suite 1200
                                                     Chicago, IL 60602

         A true and correct copy of the foregoing document described as NOTICE OF MOTION AND MOTION
         FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations)
         (REAL PROPERTY) will be served or was served (a) on the judge in chambers in the form and manner
         required by LBR 5005-2(d); and (b) in the manner stated below:

         1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
         controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                                 4/28/2020 I checked the CM/ECF docket for this bankruptcy
         hyperlink to the document. On (date) __________,
         case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
         List to receive NEF transmission at the email addresses stated below:

         U.S. Trustee                                 Trustee                             Debtor's Attorney
         ustpregion16.rs.ecf@usdoj.gov                Steven M. Speier                    Dominiq Afzali
                                                      lmorvant@glassratner.com            westwlaw@gmail.com
                                                    Service information continued on attached page

         2. SERVED BY UNITED STATES MAIL:
                      4/28/2020 I *served the following persons and/or entities at the last known addresses in this
         On (date) __________,
         bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
         in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
         constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
         document is filed.
         *caused to be served

            U.S. Bankruptcy Court Judge        Debtor
            Honorable Wayne E. Johnson         Asif Aziz
            Central District of California     1159 Maravilla Circle
            3420 Twelfth Street, Suite 384     Corona, CA 92881
            Riverside, CA 92501-3819
                                          Service information continued on attached page

         3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
         EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
         on (date) __________, I served the following persons and/or entities by personal delivery, overnight mail
         service, or (for those who consented in writing to such service method), by facsimile transmission and/or
         email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
         mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                    Service information continued on attached page

         I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
         and correct.

           4/28/2020                                      Benjamin Horstman                              /s/ Benjamin Horstman
         Date                                             Printed Name                                   Signature




PrfSrv_CAC_X14                                                                                                                   7879-N-8333
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2017
                                                              Page 12
                                                                                                  F 4001-1.RFS.RP.MOTION
